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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND


PFLAG, INC., et al.,
       Plaintiffs,

                       v.
                                             Civil Action No. BAH-25-337
DONALD J. TRUMP, in his official capacity
as President of the United States, et al.,
        Defendants.




          PLAINTIFFS’ REPLY MEMORANDUM IN SUPPORT OF THEIR
             MOTION FOR A TEMPORARY RESTRAINING ORDER
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                                           INTRODUCTION

        Defendants’ attempt to withhold federal funding from institutions that provide gender

affirming medical care violates bedrock constitutional principles, including the separation of

powers and the equal protection of the laws, and conflicts with duly enacted acts of Congress. As

more hospitals continue to shut down necessary care for transgender patients under age nineteen

in response to the Gender Identity and Denial of Care Orders (“the Orders”), 1 a nationwide

temporary restraining order against the Orders’ challenged provisions is necessary and fully within

this Court’s power to issue.

                                              ARGUMENT

I.      PLAINTIFFS’ CLAIMS ARE JUSTICIABLE.
        A.      Plaintiffs’ Claims Are Ripe.

        Defendants do not dispute that Plaintiffs have Article III standing to bring this suit. See

Dkt. 35-1 (“Pls.’ Mem.”) at 14-15. Rather, they assert the litigation is premature because the

Agency Defendants have not (according to Defendants) taken action to implement the illegal

Executive Orders. Defendants’ assertions misstate the relevant facts and the applicable law.

        Plaintiffs’ challenge to the facially unconstitutional Executive Orders is ripe for review.

“When evaluating ripeness, [courts] consider (1) the fitness of the issues for judicial decision and

(2) the hardship to the parties of withholding court consideration.” Int’l Refugee Assistance




1
  Since Plaintiffs filed their complaint and motion for a temporary restraining order last week, additional
hospitals have cut off necessary care for transgender patients under age nineteen. Children’s Hospital of
Colorado released a statement on February 5 that it must “transition its model of gender affirming care”
and “end hormone-based” gender affirming medical care for any patient under 19. The hospital noted that
the Denial of Care Order threatens its ability to receive federal health care funds that support thousands of
patients. O. Gonzalez-Pagan Supp. Decl. Ex. R-4. Multiple providers in Arizona have followed suit,
confirming they would cease providing gender-affirming hormone therapy to patients under 19. Id., Exs.
R-7 and R-8. Additionally, several other hospitals, including Children’s Hospital Los Angeles and
Corewell Heath in Michigan, have stopped initiating care for new patients. Id., Exs. R-5 and R-6.
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Project v. Trump (“IRAP”), 857 F.3d 554, 587 (4th Cir. 2017) (en banc), vacated and remanded

on other grounds, 583 U.S. 912 (2017) (cleaned up). The issues in this case are fit for judicial

decision because Plaintiffs have brought a facial challenge that the President lacks authority to

direct agencies to withhold federal grants from an institution because it provides gender affirming

medical care. See City & Cnty. of S.F. v. Trump, 897 F.3d 1225, 1235-37 (9th Cir. 2018) (finding

pre-enforcement standing where policies of grant recipients were in conflict with executive order).

       Moreover, as Plaintiffs’ declarations demonstrate, Plaintiffs and members of PFLAG

across the country face immense hardship every day President Trump’s unlawful Orders remain

unreviewed by the courts. See Edgar v. Haines, 2 F.4th 298, 311 (4th Cir. 2021) (explaining that

ripeness requires only that “[t]he plaintiffs have challenged practices and procedures to which they

are currently subject” and often hinges on “the hardship to the parties of withholding court

consideration”) (citations omitted). In light of the Executive Orders’ immediate and devastating

consequences, Plaintiffs need not await future enforcement to seek judicial relief.

       Defendants’ assertion that “no agency defendant has revoked . . . any particular grant as a

result of the EO” is also untrue. Dkt. 55 (“Opp.”) at 7. The Denial of Care Order instructed

agencies to “immediately take appropriate steps to ensure that institutions receiving Federal

research or education grants end” the provision of gender affirming medical care. Denial of Care

Order § 4 (emphasis added). That is precisely what Defendant Health Resources and Services

Administration (“HRSA”) did. On January 31, 2025, HRSA issued notices to grant recipients

informing them that HRSA grant funds may not be used for activities that “do not align with” the

Gender Identity and Denial of Care Orders and that any “vestige, remnant, or re-named piece of

any programs in conflict with these E.O.s are terminated in whole or in part.” Am. Compl. ¶ 81

(emphasis added); see Dkt. 35-5. Thus, the Order is “already in effect as to certain individuals and




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is being enforced by federal agencies.” Int’l Refugee Assistance Project v. Trump, 265 F. Supp.

3d 570, 604 (D. Md. 2017), judgment vacated on other grounds, 585 U.S. 1028 (2018).

        Nor does it matter that HRSA subsequently “rescinded” that notice on February 5, 2025.

HRSA likely issued the retraction to comply with the TRO issued by the district court in New York

v. Trump, No. 25 Civ. 39, 2025 WL 357368 (D.R.I. Jan. 31, 2025), which Defendants are seeking

to stay pending appeal. It is “well settled that a defendant’s voluntary cessation of a challenged

practice does not deprive a federal court of its power to determine the legality of the practice.”

Friends of the Earth, Inc. v. Laidlaw Env’t Servs. (TOC), Inc., 528 U.S. 167, 189 (2000) (internal

quotation marks and citation omitted). For instance, as Judge Bates explained earlier this week in

a challenge to the removal of agency websites, “that an agency may restore the removed webpages

in the future does not mean that the agency’s prior removal decision was not the consummation of

an agency’s decisionmaking process.” Drs. for Am. v. Off. of Pers. Mgmt., No. 25 Civ. 322, 2025

WL 452707, at *6 (D.D.C. Feb. 11, 2025).

        The HRSA recission notice also does not apply to termination notices that the CDC and

other components of HHS have issued, which remain in place. The CDC, for example, has issued

notices to grant recipients ordering them to “immediately terminate, to the maximum extent, all

programs, personnel, activities, or contracts promoting or inculcating gender ideology at every

level and activity.” Gonzalez-Pagan Supp. Decl. Ex. R-9 (emphasis added). Additionally, NIH

appears to have issued “specific orders defunding” or suspending multiple research studies and

health services for transgender people. Id., Ex. R-3. Plaintiffs’ claims are ripe for review.2


2
  Defendants conflate the requirements of “ripeness” with the requirements of “final agency action” under
the APA. As Defendants acknowledge (Opp. 6-7), Plaintiffs do not seek a TRO pursuant to the APA, and
the requirement of “final agency action” applies only to APA claims. See Trudeau v. FTC, 456 F.3d 178,
187 (D.C. Cir. 2006) (explaining the APA waives sovereign immunity even for non-APA claims where no
final agency action has occurred); Muniz-Muniz v. U.S. Border Patrol, 741 F.3d 668, 672 (6th Cir. 2013)



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        B.      Plaintiffs’ Claims for Equitable Relief are Valid.

        Plaintiffs have asserted valid claims for equitable relief. See CASA, Inc. v. Trump, No. 25

Civ. 201, 2025 WL 408636, at *4 (D. Md. Feb. 2, 2025).                   “The ability to sue to enjoin

unconstitutional actions by state and federal officers is the creation of courts of equity, and reflects

a long history of judicial review of illegal executive action, tracing back to England.” Armstrong

v. Exceptional Child Ctr., Inc., 575 U.S. 320, 327 (2015). And it is “well established that ‘[r]eview

of the legality of Presidential action can ordinarily be obtained in a suit seeking to enjoin the

officers who attempt to enforce the President’s directive.’” Chamber of Com. v. Reich, 74 F.3d

1322, 1328 (D.C. Cir. 1996) (quoting Franklin v. Massachusetts, 505 U.S. 788, 815 (1992) (Scalia,

J., concurring)). Thus, even when agency officials are “acting at the behest of the President . . .

courts have power to compel subordinate executive officials to disobey illegal Presidential

commands.” Id. (cleaned up).

        Defendants admit that courts have equitable power to enjoin ultra vires agency actions.

Defendants nevertheless assert Plaintiffs may not seek relief based on injuries caused by the

coercive effect of ultra vires actions on third-party hospitals. But Defendants provide no support

for that argument. It is well settled that for purposes of Article III standing, a party may assert

claims based on injuries that flow from the “predictable effect of Government action on the

decisions of third parties.” Dep’t of Com. v. New York, 588 U.S. 752, 767-68 (2019). And as

President Trump’s press release celebrating the hospital closures reflects, “[t]his expected behavior”

was “the desired result.” Mayor & City Council of Balt. v. Trump, 416 F. Supp. 3d 452, 489 (D.

Md. 2019); see Dkt. 35-11.



(explaining the APA’s “waiver of sovereign immunity extends to all non-monetary claims against federal
agencies and their officers sued in their official capacity, regardless of whether plaintiff seeks review of
‘agency action’ or ‘final agency action’”).


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       Defendants do not explain why the same principles do not apply for ultra vires actions.

They cite a Tenth Circuit decision holding that a plaintiff cannot assert claims in equity against a

state for statutory violations unless the plaintiff has a substantive right under the statute that has

been violated. Opp. 10 (citing Safe Streets All. v. Hickenlooper, 859 F.3d 865, 902 (10th Cir.

2017)). But as the Tenth Circuit noted, “[t]he question of who may enforce a statutory right is

fundamentally different from the question of who may enforce a right that is protected by the

Constitution.” 859 F.3d at 902 n.14 (cleaned up). And the Supreme Court has already recognized

a right to equitable relief “under the Constitution to challenge governmental action under . . .

separation-of-powers principles.” Free Enter. Fund v. Pub. Co. Acct. Oversight Bd., 561 U.S. 477,

491 n.2 (2010). Moreover, through their claim that the Executive Orders conflict with Section

1557 of the Affordable Care Act (“ACA”), 42 U.S.C. § 18116, and Section 1908 of the Public

Health Service Act (“PHSA”), 42 U.S.C. § 300w-7, Plaintiffs are asserting their own substantive

rights to be free from sex discrimination by health care entities receiving federal funding. Plaintiffs

may seek equitable relief to vindicate those rights.

II.    PLAINTIFFS ARE LIKELY TO SUCCEED ON THEIR CLAIMS.
       A.      The Gender Identity and Denial of Care Orders Violate Separation of Powers.

       The Executive Orders are ultra vires and violate the separation of powers because they

attempt to impose additional conditions on funds already appropriated by Congress. Defendants

admit that “[b]y their own terms, the EOs challenged here direct agencies to impose a new

condition on grant funding.” Opp. 14. But as Plaintiffs explained in their opening brief, the

Constitution vests Congress—not the President—with the power of the purse. When Congress has

appropriated federal funds by statute for a particular purpose, the President does not have the

authority to effectively amend or repeal the appropriation statutes by unilaterally adding his own

conditions to the funding. “The Executive Branch has a duty to align federal spending and action


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with the will of the people as expressed through congressional appropriations, not through

‘Presidential priorities.’” New York, 2025 WL 357368, at *2 (cleaned up).

       Defendants dispute none of this. Defendants concede that agencies may pursue “the

President’s policy preference [only] to the extent permitted by applicable law.” Opp. 11. And

Defendants do not argue that federal law actually authorizes agencies to withhold federal grants

from entities providing gender affirming medical care to people under nineteen.           Instead,

Defendants assert that the President’s unlawful Executive Orders merely ask agencies to “act

within their own statutory authorities” and impose additional conditions on federal grants only to

the extent that doing so would be in accordance with the ordinary procedural requirements for

agency action. Opp. 11-12.

       Nonsense. Although other provisions of the Executive Orders may have directed agencies

to take future administrative actions, the provisions regarding federal funding are mandatory and

direct agencies to act “immediately.” Cf. Stone v. Trump, 280 F. Supp. 3d 747, 771 (D. Md. 2017)

(“[T]he President’s Memorandum [banning transgender service members] is not a request for a

study but an order to implement the Directives contained therein”). Everyone—from the agency

appointees at HRSA who issued immediate termination notices, to the Attorney General of

Virginia who ordered hospitals to stop providing gender affirming medical care based on the

Orders, to the hospital executives across the country who suddenly halted medical care leaving

transgender patients and their families stranded and scared—understood that the Executive Orders

had immediate and severe consequences. If there were any doubt, the President’s own words

confirm that these immediate shutdowns were the Orders’ “intended effect.” Dkt. 35-11.

       Defendants’ suggestion that Plaintiffs could have waited to “seek redress through any of

the procedures ordinarily available” under the Administrative Procedure Act is not only




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misguided; it is perverse. Opp. 13. The “intended effect” of the Executive Orders’ “immediate”

command was to terrorize hospitals with threats that the government would instantly and

unlawfully terminate federal funding outside the ordinary administrative process. HRSA did

precisely that by immediately informing grant recipients that their grants “are terminated” and that

recipients “may not incur any additional costs that support any programs, personnel, or activities

in conflict with these E.O.s.” Dkt. 35-5. The CDC has done the same. Gonzalez-Pagan Supp.

Decl., Exs. R-1, R-2, R-9.

       Defendants cannot ignore the reality of what actually happened by hiding behind a

boilerplate statement that the Orders must be implemented consistent with applicable law. As

explained herein, there is simply no lawful implementation of these Orders.              In similar

circumstances, the Fourth Circuit already has held in HIAS, Inc. v. Trump, 985 F.3d 309 (4th Cir.

2021), that plainly unlawful executive orders cannot evade judicial review by including a similar

boilerplate statement. HIAS explained that government cannot “immunize [an Executive] Order

from review through a savings clause” that conflicts with the Order’s plainly unlawful “substantive

provisions.” Id. at 325. If a boilerplate savings clause “precludes a court from examining whether

[an] Executive Order [actually] is consistent with law, judicial review is a meaningless exercise.”

Id. (quoting City & Cnty. of S.F., 897 F.3d at 1240).

       B.      The Gender Identity and Denial of Care Orders Conflict with
               Statutory Nondiscrimination Requirements.

        The Executive Orders are also ultra vires because they conflict with statutes prohibiting

healthcare entities receiving federal grants from discriminating based on sex.          Defendants

acknowledge the Executive Orders would be unlawful if they directed grantees to engage in

conduct that violated Section 1557 of the ACA or Section 1908 of the PHSA. Opp. 13 n.4. And

Defendants concede that under Kadel v. Folwell, 100 F.4th 122, 153 (4th Cir. 2024) (en banc)



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(“Kadel II”), denying gender affirming medical care to people under nineteen is sex discrimination

under those statutes. Defendants’ only argument in defense of the Orders is that a hospital could

theoretically comply with both the President’s grant conditions and the antidiscrimination statutes

by declining to provide any hormone medications to anyone. Opp. 3.

       Defendants do not explain how placing the nation’s hospitals in that untenable position—

making it effectively impossible for any entity receiving federal funding to provide any treatment

for endocrine conditions—is consistent with “the expressed or implied will of Congress” when it

appropriated funds for grants to hospitals or passed the ACA. Zivotofsky v. Kerry, 576 U.S. 1, 10

(2015). In interpreting federal statutes, a “fair reading of legislation demands a fair understanding

of the legislative plan.” King v. Burwell, 576 U.S. 473, 498 (2015). Congress passed the ACA

and PHSA “to improve” access to healthcare, “not to destroy” it. Id. 3

       Indeed, far from delegating open-ended authority to the Executive Branch to impose its

own grant conditions to “end” particular medical practices—much less all endocrine treatments—

in Section 1554 of the ACA, Congress has prohibited HHS from taking action that “creates any

unreasonable barriers to the ability of individuals to obtain appropriate medical care”; “impedes

timely access to health care services”; “interferes with communications regarding a full range of

treatment options between the patient and the provider”; “restricts the ability of health care

providers to provide full disclosure of all relevant information to patients making health care

decisions”; or “violates the principles of informed consent and ethical standards of health care

professionals.” 42 U.S.C. § 18114(1)-(5); see Mayor of Balt. v. Azar, 973 F.3d 258, 288 (4th Cir.

2020) (affirming preliminary injunction against enforcement of regulation that conflicted with


3
 Because Medicaid is also subject to Section 1557, Defendants’ argument would also leave millions of
Medicaid beneficiaries, cisgender or transgender, without access to these treatments. See Kadel II, 100
F.4th at 164.


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these prohibitions). Defendants cannot save the Executive Orders from conflicting with Section

1557 of the ACA by interpreting them in a manner that conflicts with Section 1554 instead.

        C.      The Gender Identity and Denial of Care Orders Violate Equal Protection.

                1.      The Orders Trigger Heightened Equal Protection Scrutiny.

        Defendants concede, as they must, that Kadel II controls. Nonetheless, they attempt to

relitigate that controlling precedent. In Kadel II, the Fourth Circuit held that governmental policies

categorically excluding or prohibiting gender affirming medical care for transgender people are

subject to heightened scrutiny because they classify based on sex and transgender status. Despite

Defendants’ protestations, the same is true here.

        Defendants’ argument that the Orders “do not treat anyone differently on the basis of sex”

because they purportedly apply “evenhandedly to males and females” does not change that the

Orders classify individuals based on sex and trigger heightened equal protection scrutiny under

controlling precedent. Opp. 16-17. As Kadel II already explained, Defendants’ “argument elides

common sense and is inconsistent with Supreme Court precedent about how to approach equal-

protection analyses.” 100 F.4th at 147. Explicit facial classifications do not become neutral “on

the assumption that all persons suffer them in equal degree.” Powers v. Ohio, 499 U.S. 400, 410

(1991); see J.E.B. v. Alabama ex rel. T.B., 511 U.S. 127, 142 n.13 (1994) (rejecting “equal

application” argument in the context of sex classifications).4

        Defendants also argue the Orders do not enforce sex stereotypes because they merely

“recognize inherent physical and biological differences.” Opp. 18. But the Fourth Circuit already

rejected the argument that stereotypes connected to biological differences are somehow immune


4
  Defendants intimate that the Denial of Care Order merely discriminates based on age. Opp. 21. But
including an age classification alongside a sex classification does not insulate the Denial of Care Order
from heightened scrutiny. See Craig v. Boren, 429 U.S. 190, 197 (1976) (applying heightened scrutiny to
sex classification even though it affected only men between the ages of 18 and 20).


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from heightened scrutiny. Kadel II, 100 F.4th at 154. “No doubt, the majority of those assigned

female at birth have breasts, and the majority of those assigned male at birth do not. But we cannot

mistake what is for what must be. And because gender stereotypes can be so ingrained, we must

be particularly careful in order to keep them out of our Equal Protection jurisprudence.” Id.5

        Finally, Defendants’ argument that classifications based on transgender status do not

warrant heightened scrutiny (Opp. 19-20) likewise is foreclosed. See Kadel II, 100 F.4th at 143;

Grimm v. Gloucester Cnty. Sch. Bd., 972 F.3d 586, 611-13 (4th Cir. 2020).6

                2.      The Orders Fail Heightened Scrutiny.

        Under heightened scrutiny, Defendants bear the burden of “provid[ing] an exceedingly

persuasive justification for the classification” and “show[ing] that the classification serves

important governmental objectives and that the discriminatory means employed are substantially

related to the achievement of those objectives.” Kadel II, 100 F.4th at 156 (cleaned up). They

have not done so. Though no one disputes that protecting children is an important governmental

interest, the Orders do not substantially advance, or even rationally relate to, that interest.

        Defendants argue that gender affirming medical care is ineffective, that it carries risks, and

that adolescents are unable to consent to this care because they may later regret it. Opp. 22-24.

None of these arguments, which simply repeat the text of the Order without presenting evidence,

passes muster. “Without evidence that the treatments are ineffective to treat gender dysphoria,

Defendants cannot meet their burden to show that the risks substantially outweigh the benefits so


5
  Defendants’ suggestion that people assigned male and female at birth are not similarly situated with
respect to the prohibited medication (Opp. 17-18) misconstrues controlling law. See Kadel II, 100 F.4th
at 155 (“The similarly situated inquiry does not just ask whether two groups are similarly situated; it asks
whether they are similarly situated with respect to the statute’s objective.”).
6
  The idea that transgender people are not politically powerless currently (Opp. 20) is as untenable as it is
fanciful. See Pls.’ Mem., at 24-25. “[T]ransgender people are unarguably a politically vulnerable minority.”
F.V. v. Barron, 286 F. Supp. 3d 1131, 1145 (D. Idaho 2018).


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as to justify their sex- and transgender-based policy.” Kadel v. Folwell, 620 F. Supp. 3d 339, 380

(M.D.N.C. 2022), aff’d, 100 F.4th 122.

       In Kadel II, the Fourth Circuit rejected the argument that singling out gender affirming

medical care for disparate treatment was justified on the ground that the treatment was ineffective.

100 F.4th at 156. Defendants wrongly argue this holding from Kadel II is not controlling because

that case purportedly “did not address restrictions on these treatments for persons under 19 years

of age.” Opp. 22. But Defendants are mistaken. Two of the plaintiffs in Kadel were suing over

gender affirming medical care denied to them as minors. See Kadel, 620 F. Supp. 3d at 355; Am.

Compl. ¶¶ 76-89, 99-118, Kadel, No. 1:19-cv-00272 (M.D.N.C. Mar. 9, 2021), ECF No. 75.

       None of Defendants’ other arguments justify the Orders.            Defendants’ unsupported

criticisms of gender-affirming medical care are overstated or simply untrue, and are also applicable

to many other forms of medical treatment. “There is nothing unique about the risks of gender-

affirming medical care for adolescents that warrants taking this medical decision out of the hands

of adolescent patients, their parents, and their doctors.” Brandt v. Rutledge, 677 F. Supp. 3d 877,

902 (E.D. Ark. 2023).

       First, “gender-affirming medical care delivered in accordance with WPATH and

Endocrine Society guidelines is helpful and necessary for some adolescents, . . . [while]

withholding such care is harmful.” Poe ex. rel. Poe v. Labrador, 709 F. Supp. 3d 1169, 1193 (D.

Idaho 2023). For patients who need it, “denial of [gender affirming medical] treatment will cause

needless suffering for a substantial number of patients and will increase anxiety, depression, and

the risk of suicide.” Dekker v. Weida, 679 F. Supp. 3d 1271, 1286 (N.D. Fla. 2023); see also

Brandt, 677 F. Supp. 3d at 888 (“Gender dysphoria is a serious condition that, if left untreated, can




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result in other psychological conditions including depression, anxiety, self-harm, suicidality, and

impairment in functioning.”); Kadel II, 100 F.4th at 136.

       The Orders and Defendants’ defense of them “ignore the benefits that many patients realize

from these treatments and the substantial risk posed by foregoing the treatments.” Dekker, 679 F.

Supp. 3d at 1294. Indeed, “based on the decades of clinical experience and scientific research, it

is widely recognized in both the medical and mental health fields—including by major medical

and mental health professional associations—that gender-affirming medical care can relieve the

clinically significant distress associated with gender dysphoria in adolescents.” Brandt, 677 F.

Supp. 3d at 919–20; see also Poe, 709 F. Supp. 3d at 1182 (finding that “the treatment for gender

dysphoria—when provided in accordance with the guidelines published by WPATH and the

Endocrine Society, and which may include medical interventions such as puberty blockers,

hormone therapy, and surgeries—is safe, effective, and medically necessary for some

adolescents”); Dekker, 679 F. Supp. 3d at 1286. Plaintiffs’ experiences confirm the benefits of

gender affirming medical care to treat gender dysphoria in adolescents and young adults. See Dkts.

35-16 (¶¶ 12-13); 35-21 (¶¶ 6, 15); 35-18 (¶ 10); 35-20 (¶ 7); 35-19 (¶¶ 8-9). They also show the

harm of delaying or denying this care when medically indicated. See Dkts. 35-15 (¶¶ 18-20); 35-

16 (¶¶ 11, 18); 35-21 (¶¶ 15-17); 35-18 (¶¶ 8, 16-17); 35-20 (¶¶ 8, 10, 13); 35-19 (¶ 13).

       Second, that gender affirming medical care carries risks does not justify the Orders. “That

there are risks does not end the inquiry.” Dekker, 679 F. Supp. 3d at 1294. “Risks attend many

kinds of medical treatment, perhaps most,” and “[o]rdinarily[,] it is the patient, in consultation

with the doctor, who weighs the risks and benefits and chooses a course of treatment.” Id. at 1295.

And “[t]he risks of gender-affirming medical care are not categorically different than the types of




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risks that other types of pediatric healthcare pose.” Brandt, 677 F. Supp. 3d at 902; see also Poe,

709 F. Supp. 3d at 1194.

        Third, with all medical care involving minors—including gender affirming medical care--

it is the parents or guardians who provide consent, while the adolescent minor provides assent.

And courts have found that “[t]he informed consent process is adequate to enable minor patients

and their parents to make decisions about gender-affirming medical care for adolescents.” Brandt,

677 F. Supp. 3d at 891. Defendants do not provide evidence for why this informed consent process

is insufficient for minors—much less evidence for why the eighteen-year-old Adult Plaintiffs, who

can vote or enlist to serve our country, cannot provide consent for this care.

        Fourth, although Defendants and the Denial of Care Order allude to the possibility that

some patients may regret their care, such possibility does not justify the Orders. Put simply,

“[r]egret is rare.” Dekker, 679 F. Supp. 3d at 1297. And “[r]egret over a medical procedure is not

unique to gender-affirming medical care and is common in medicine.” Brandt, 677 F. Supp. 3d at

905.

        For all these reasons, the Orders cannot satisfy heightened scrutiny—or any standard of

review. See Dekker, 679 F. Supp. 3d at 1286.

        At their core, the Orders are a bald attempt to render transgender people invisible in the

eyes of the government and deprive them of access to medically necessary health care. In just

mere days, President Trump has issued multiple executive orders targeting transgender people for

discrimination. Pls.’ Mem. at 25. The very text of these Orders—along with the multiple other

executive actions targeting transgender people for discrimination that have accompanied them—

demonstrate that they are “dripping” with animus toward transgender people. Int’l Refugee

Assistance Project v. Trump, 857 F.3d 554, 572 (4th Cir. 2017), vacated and remanded sub nom.




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Trump v. Int’l Refugee Assistance, 583 U.S. 912 (2017). And the President’s “bare … desire to

harm” transgender people “cannot constitute a legitimate governmental interest.” U.S. Dep’t of

Agric. v. Moreno, 413 U.S. 528, 534 (1973); see also Pls.’ Mem. at 27.7

III.    THE OTHER FACTORS FAVOR A TEMPORARY RESTRAINING ORDER.

        Nothing in Defendants’ Opposition changes the fact that the other factors also weigh in

favor of a temporary restraining order. Medical institutions have cancelled appointments, refused

to fill prescriptions, and shut down gender affirming medical care programs and services for

adolescents and adults under nineteen. Those shutdowns were caused by the President’s unlawful

directive to “immediately” withhold grants, and—despite Defendants’ assertions to the contrary

(Opp. 26)—a TRO would redress Plaintiffs’ injuries by removing the unlawful and coercive threat

that prompted hospitals to stop providing this evidence-based and often critical care.

        Against these severe, irreparable harms, the government has identified no counteracting

interest that would justify immediate enforcement. This is particularly true in light of the fact that

“the public interest favors protecting constitutional rights.” Leaders of a Beautiful Struggle v. Balt.

Police Dep’t, 2 F.4th 330, 346 (4th Cir. 2021). And as established supra, the constitutional

violations in this case are glaring and severe. Any interest in valid exercises of executive authority

does not extend to ultra vires executive actions or to unconstitutional actions targeting vulnerable

communities, as here. See Legend Night Club v. Miller, 637 F.3d 291, 302-03 (4th Cir. 2011) (the


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  Defendants’ suggestion that Plaintiffs failed to address the alleged purposes of the Gender Identity Order
is wrong. Plaintiffs asserted in their opening brief that the Gender Identity Order deliberately targets
transgender people for disfavored treatment, effectively seeking to invalidate their identities, Pls.’ Mem. at
24, and is motivated by invidious animus. Id. at 27. In the face of such blatant, purposeful discrimination,
the asserted justifications are nothing more than pretext. Defendants claim the purpose of the Gender
Identity Order is to “defend women’s rights” and their “dignity, safety, and wellbeing,” but fail to explain
how those interests are rationally related to requiring grantees to effectively deny the existence of
transgender people or depriving transgender youth and young adults of medically necessary care. Denying
medical care to transgender youth and young adults is “so far removed from these particular justifications
that [it is]impossible to credit them.” Romer v. Evans, 517 U.S. 620, 635 (1996).


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government “is in no way harmed by issuance of an injunction that prevents the state from

enforcing unconstitutional restrictions”).

        Finally, “[o]nly a nationwide injunction will provide complete relief to the plaintiffs”

because PFLAG and GLMA have members throughout the country who have been harmed by the

Executive Orders. CASA, Inc., 2025 WL 408636, at *17. See, e.g., Dkts. 35-17 (Virginia); 35-23

(Washington); 35-25 (Colorado); 35-26 (Illinois); 35-27 (New York); Jane Doe 4 Decl.

(Wisconsin); Jane Doe 5 Decl. (Florida, Maryland, and California); see also Dkts. 35-13; 35-22;

Dr. Poe Decl. (members of GLMA in New York, Massachusetts, and Maryland). The Fourth

Circuit specifically authorizes nationwide relief from harmful executive orders where exigencies

meet the circumstances. See HIAS, 985 F.3d at 326.8

                                            CONCLUSION

        For the foregoing reasons, the Court should enter an order temporarily restraining the

Agency Defendants from implementing or enforcing Section 3(g) of the Gender Identity Order

and Section 4 of the Denial of Care Order and from otherwise withholding federal funding based

on the fact that a healthcare entity provides gender affirming medical care, including any

healthcare institution from which the Transgender Plaintiffs and patients of health professional

members of GLMA receive gender affirming medical care.




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  The only support for Defendants’ suggestion that an injunction be limited to the specific members of
PFLAG and GLMA identified in the Complaint is a solo concurrence by Justice Thomas in FDA v. Alliance
for Hippocratic Medicine, 602 U.S. 367, 399 (2024) (Thomas, J., concurring). But as the concurrence
acknowledged, binding Supreme Court precedent holds that associations are entitled to seek relief on behalf
of all their members. See id. at 404-05 (citing Int'l Union, United Auto., Aerospace & Agr. Implement
Workers of Am. v. Brock, 477 U.S. 274, 290 (1986); Students for Fair Admissions, Inc. v. President and
Fellows of Harvard Coll., 600 U.S. 181, 199-201 (2023)). Only a majority of the Court can overturn those
precedents, not a solo concurrence.


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Dated: February 12, 2025                     Respectfully submitted,

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                              CERTIFICATE OF SERVICE

       I hereby certify that the foregoing document was electronically filed using the Court’s

CM/ECF system. Service will be effected by and through the Court’s CM/ECF system.



Dated: February 12, 2025                                 /s/ Zachary B. Cohen
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